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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                             )
ABDULLATIF NASSER                            )
                                             )
                Petitioner,                  )
                                             )
                v.                           )   Civil Action No. 05-764 (CKK)
                                             )
 DONALD J. TRUMP, et al.,                    )
                                             )
                Respondents.                 )
                                             )

                                   JOINT STATUS REPORT

        In accordance with the parties’ Joint Status Report of December 14, 2018, the parties

 hereby provide a further joint status report to the Court.

        On January 11, 2018, Petitioner, filed the motion referenced in the January 3, 2018

 Minute Order, and ten other habeas petitioners filed identical motions in eight other habeas

 actions in this Court. See ECF No. 274. On January 18, 2018, pursuant to the conclusion of the

 Calendar and Case Management Committee that these motions should be referred to one district

 judge, the Court entered a Minute Order referring ECF No. 274 to Judge Thomas F. Hogan for

 resolution. On February 16, 2018, Respondent filed its opposition to ECF No. 274, see ECF No.

 290, to which Petitioner replied on March 9, 2018. See ECF No. 291. Argument took place on

 this motion before Judge Hogan on July 11, 2018, and the motion remains pending.

        Aside from activity related to ECF No. 274, the parties do not anticipate any further

 proceedings in this Court within the next 90 days. The parties therefore propose filing a further

 status report on or before June 15, 2019.



Dated: March 19, 2019                                 Respectfully Submitted,
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